










Opinion issued November 10, 2004




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In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-01006-CR
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TIFFANY M. JOHNSON, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Tiffany M. Johnson, filed a petition for writ of mandamus in this
Court complaining of respondent, the Honorable Fad Wilson, Jr., Judge, Municipal
Court No. 2, Houston, Harris County.  The petition for writ of mandamus is dismissed
for lack of jurisdiction.  See In re Chang, Coffman, Hill, Johnson, and Hindt, No. 01-04-01002-CR, slip op. at 2 (Tex. App.—Houston [1st Dist.] Nov. 10, 2004, orig.
proceeding) (designated for publication).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
PER CURIAM
Panel consists of Chief Justice Radack, and Justices Keyes and Alcala.
Do not publish.  Tex. R. App. P. 47.2(b).


